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                                                                                         APR." 18 2019
                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND     BY

IN THE MATTER OF THE SEARCH OF                          *
22 TARGET DEVICES IN THE U.S. DRUG                      *        CASE NO.
ENFORCEMENT ADMINISTRATION'S                            *                        19 -11 8 3 BPG
POSSESSION                                              *
                                                        *
                                                        *
                                               **************

                       AFFIDAVIT IN SUPPORT OF AN APPLICATION
                         FOR A SEARCH AND SEIZURE WARRANT

       Your Affiant, James Norton Task Force Officer with the Drug Enforcement Administration

("DEA"), being duly sworn, hereby deposes and states as follows:

                                               Introduction

        I.     Your Affiant makes this Affidavit in support of an application under Federal Rule of

Criminal Procedure 41 for a search and seizure warrant authorizing the examination of nineteen

(19) .cellular telephones and three (3) personal tablets, as fully described in Attachment A

(collectively referred to as the "TARGET DEVICES")

        2.     Your Affiant submits that probable cause exists to believe that Watson Patrick

BRUCE a/k/a "Tree" ("BRUCE"), Todd Rayshard THOMAS a/k/a "Little Man" ("THOMAS"),

Lawrence     Michael    BRANCH     III ("BRANCH"),           Larry Michael      BROWN      ("BROWN")

(collectively referred to as the "TARGET SUBJECTS")             have used the TARGET DEVICES in

furtherance of drug trafficking activities in violation of21 U.S.C.      SS   841 (a)(I) and 846, and the

 TARGET DEVICES contain fruits and evidence of conspiracy to drug trafficking activ.ities.

                                      Affiant's Background

        3.     Your Affiant is an investigative or law enforcement officer of the United States,

within the meaning of 18 U.S.C.      S   2510(7)-that       is, an officer of the United States who is
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empowered by law to conduct investigations of and to make arrests for offenses enumerated in 18

U.S.C.   9 2516.
         4.       Since November 2013, your Affiant has been a Task Force Officer with the DEA,

assigned to the DEA High Intensity Drug Trafficking Areas Group 43. Your Affiant also works at

the Calvert County (Maryland) Sheriffs Office ("CCSO") Drug Enforcement Unit ("DEU") for

over ten years, rising to the level of Detective over five years ago.

         5.       As a DEA Task Force Officer, your Affiant has participated in numerous drug

investigations, several of which were Organized Crime Drug Enforcement Task Force ("OCDETF")

investigations.    During these investigations, your Affiant has performed duties associated with

electronic surveillance including, but not limited to, serving as the lead case agent, monitoring

consensual telephone calls, conducting physical and pole camera surveillance, listened to hundreds

of court-authorized intercepted calls between individuals involved or suspected to be involved in

drug trafficking activities, reviewing court -authorized intercepted text messages, interpreting the

court-authorized intercepted calls and texts, and transcribing those calls. In addition, your Affiant

has worked directly with confidential sources and informants to conduct controlled drug purchases;

has debriefed them; and has interviewed drug dealers and users about their lifestyle, appearance, and

habits. Moreover, your Affiant has applied for search warrants, arrest warrants, and Title III wire

intercepts; executed search warrants; and seized evidence related to drug trafficking, including

substantial quantities of narcotics and drug paraphernalia.

         6.       As a Detective with the CCSO DEU, your Affiant has investigated narcotics

trafficking, firearms trafficking, and overdose related deaths. During those investigations, your

Affiant has served as an affiant of search warrants and for which their execution led to the seizure of


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firearms, narcotics, drug paraphernalia, and documents relating to the distribution of narcotics as

well has arrested those who violated state gun and drug laws and the state of Maryland successfully

prosecuted.

        7.     Your Affiant also received specialized training in drug importation, manufacture,

concealment, and distribution; drug recognition and interdiction; crime scene investigations;

evidence collection; gang investigations;     interviews and interrogation; and cellular telephone

forensics and analysis.   Your Affiant earned an Associate in Arts in Criminal Justice from the

College of Southern Maryland in La Plata, Maryland.

        8.     Based on your Affiant's knowledge, training, and experience, your Affiant has

become familiar with the following: (I) the manner in which drug traffickers (a) transport, store,

and distribute drugs, (b) collect, keep, and conceal the proceeds oftheir illegal activities; and (2) the

ways in which drug traffickers use cellular telephones, cellular telephone technology, coded

communications or slang during conversations, and other means to facilitate their illegal activities

and thwart law enforcement investigations.

        9.     Specifically, based on your Affiant's knowledge, training and experience, your

Affiant learned that persons involved in illegal drug distribution commonly do the following:

               a.      Maintain keys to safe deposit box, books, records, receipts, notes, ledgers,
                       bank records, money orders, and other papers relating to the importation,
                       manufacture, transportation, ordering, sale, and distribution of illegal
                       controlled substances. Dealers in illegal controlled substances maintain the
                       aforementioned enumerated items where they have ready access to them, such
                       as in secured locations within their residence, the residences of their friends,
                       family members, and associatcs, or their drug distribution locations. Due to
                       the advancement in technology, drug traffickers may use computers and other
                       electronic storage media, including cellular telephones and personal tablets,
                       to store the records listed above.



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              b.      Take, or cause to be taken, photos of themselves, their associates, their
                      property, and illegal contraband. Drug traffickers usually maintain these
                      photos where they can readily access them, such as their cellular telephone
                      and electronic devices, their residence, the residences of their friends, family
                      members or associates.

              c.      Use cellular telephones and other electronic devices to maintain their co-
                      conspirators' names and contact information, facilitate drug transactions, and
                      run their drug distribution operations.

                                       Basis oflnformation

        10.   The facts set forth in this Affidavit does not contain every fact known to me regarding

this investigation, but rather contains information necessary to demonstrate probable cause in

support of the above-referenced search warrant. The facts and information contained in this affidavit

are based on my personal knowledge and information obtained from federal and state law

enforcement officers. All observations referenced in this affidavit that I did not personally make

were relayed to me by the person(s) who made such observations or in reports that detailed the

events described by that person( s).

                                         Probable Cause

        II.   In October 2017, the DEA and the CCSO DEU began investigating heroin traffickers

operating in the Anne Arundel County area. Among the targets of this investigation are the

TARGET SUBJECTS.

        12.   The intercepted calls and texts occurring over the cellular telephone assigned call

number (410) 212-8980 with International Mobile Subscriber Identity ("IMSI") 310120153606409,

subscribed to John Wright, the subscriber address of 2406 Autumn Harvest Court Odenton,

Maryland 21113, and used by BRUCE, whose service provider is Sprint Corporation ("SPRINT")

and the cellular telephone number (443) 804-0072 with IMSI31 0120227102162, subscribed to no


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name listed, the subscriber address is not listed, and used by BROWN, whose service provider is

SPRINT confirmed that BROWN supplied BRUCE and BRANCH with narcotics and THOMAS

sold narcotics for and at the direction of BRUCE.

        13.   On March 14,2019,      Magistrate Judge Stephanie A. Gallagher issued, inter alia,

Criminal Complaints and arrest warrants for the TARGET SUBJECTS, because there was

probable cause to believe that the TARGET SUBJECTS conspired to distribute and possess with

the intent to distribute a controlled dangerous substance, in violation of21 U.S.C. 9 846; possessed

with the intent to distribute a controlled dangerous substance, in violation of21 U.S.C. 9841(a)(a);

and used communication facilities to facilitate the commission of such offenses, in violation of21

U.S.c. 9 843(b).

        14.   On March 15,2019, at approximately 6:30 a.m., investigators conducted surveillance

ofthe 2019 black Volvo SUV bearing Maryland license plate number 6DG2921 registered to PV

Holding Corporation located at 7432 New Ridge Road, Hanover, Maryland 21076 ("BRUCE's

Vehicle") that was parked at the Why Hotel at 225 N. Calvert Street, Baltimore, Maryland 21202.

They observed BRUCE walk towards and unlock BRUCE's Vehicle as well as attempt to enter the

driver's side door. Law enforcement then arrested BRUCE.

        15.   During a search incident to arrest, law enforcement recovered, inter alia, TARGET

.DEVICE 1 and TARGET DEVICE 2 in BRUCE's right front pants pocket approximately $6,000

in cash, and suspected heroin and cocaine in a plastic knotted bag.

        16.   On the same day, Magistrate Judge A. David Copperthite issued a search and seizure

warrant for BRUCE's Vehicle.        Shortly after that day, law enforcement executed that search




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warrant and recovered TARGET DEVICE 3 and TARGET DEVICE 4 in a white plastic bag in

the back hatch area of BRUCE's Vehicle.

       17.      On March 15,2019,   Magistrate Judge Gallagher also issued search and seizure

warrants for BRUCE's     residence, 20 Amberstone Court Unit J, Annapolis, Maryland 21403

("TARGET       LOCATION      1"); BROWN's     residence,   1307 N. Woodington     Road Apt. 4,

Baltimore, Maryland 21229 ("TARGET LOCATION           2"); THOMAS's residence, 18 Bens Drive

Apt. F, Annapolis, Maryland 21403 ("TARGET LOCATION 3"); and BRANCH's residence, 515

Kingdom Court, Odenton, Maryland 21113 ("TARGET LOCATION             4").

       18.     At approximately 7:19 a.m., law enforcement executed the search warrant for

TARGET LOCATION 1 and recovered, inter alia, TARGET DEVICE 5, TARGET DEVICE 6,

and TARGET DEVICE 7 from the top left dresser drawer in the master bedroom; TARGET

DEVICE       8 from on top of a TV stand in the corner of the master bedroom; and TARGET

DEVICE 9 from the kitchen counter above the kitchen sink.

       19.     At approximately 6:57 a.m., law enforcement executed the search warrant for

TARGET       LOCATION     3 and recovered, inter alia, TARGET     DEVICE      10 and TARGET

DEVICE 11 from the window sill inside bedroom one as well as TARGET DEVICE 12 from an

ironing board inside bedroom one.

       20.     At approximately 8:20 a.m., investigators conducted surveillance of TARGET

LOCATION        4 and observed BRANCH     leave TARGET       LOCATION       4 in the 2019 silver

Chevrolet Equinox bearing Maryland license plate number 5DR6266 registered to Hertz Vehicles

BWI, P.O. Box 8612, Baltimore, Maryland 21240 ("BRANCH's        Vehicle"). Law enforcement in

an unmarked vehicle followed BRANCH, who began driving BRANCH's Vehicle at high speeds


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through back roads. Shortly after, a patrol officer in an unmarked patrol vehicle activated the

emergency lights and attempted to make a stop BRANCH's Vehicle, but BRANCH continuing

driving and tossed what appeared to be small baggies out of BRANCH's Vehicle's window.

BRANCH subsequently stopped BRANCH's Vehicle, but when the patrol officer exited the patrol

officer's vehicle, BRANCH resumed driving slowly BRANCH's Vehicle and yelled that he was

going to stop on main road. That patrol officer then observed BRANCH dumping a white powdery

substance out of BRANCH's     Vehicle's window, causing it to fall down onto the patrol officer's

vehicle and BRANCH's Vehicle.

       21.    Law enforcement arrested BRANCH after he stopped at the intersection ofNajoles

Road and Benfield Boulevard in Hanover, Maryland.

       22.    At approximately 8:32 a.m., law enforcement searched BRANCH's Vehicle and

recovered TARGET DEVICE 13 and TARGET DEVICE 14 from the center console.

       23.    At approximately 6:00 a.m., agents executed the search warrant at TARGET

LOCATION 2 and recovered TARGET DEVICE 15 from a night stand to the left of the bed in

bedroom one; TARGET DEVICE 16 from top of the dresser at the foot of the bed in bedroom one;

TARGET DEVICE 17 from inside of the top dresser drawer of bedroom two; and TARGET

DEVICE 18, TARGET DEVICE 19, TARGET DEVICE 20, TARGET DEVICE 21, and

TARGET DEVICE 22 from on top of the dresser inside bedroom two.

                                       Technical Terms

       24.    Based on my training and experience, your Affiant uses the following technical terms

to convey the following meanings:

             a.      Wireless telephone: A wireless telephone (or mobile telephone, or cellular


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         telephone) is a handheld wireless device used for voice and data
         communication through radio signals. These telephones send signals through
         networks of transmitter/receivers, enabling communication with other
         wireless telephones or traditional "land line" telephones.         A wireless
         telephone usually contains a "call log," which records the telephone number,
         date, and time of calls made to and from the phone. In addition to enabling
         voice communications, wireless telephones offer a broad range of
         capabilities. These capabilities include: storing names and phone numbers in
         electronic "address books;" sending, receiving, and storing text messages and
         e-mail; taking, sending, receiving, and storing still photographs and moving
         video; storing and playing back audio files; storing dates, appointments, and
         other information on personal calendars; and accessing and downloading
         information from the Internet. Wireless telephones may also include Global
         Positioning System ("GPS") technology for determining the location of the
         device.
    b.   Digital camera: A digital camera is a camera that records pictures as digital
         picture files, rather than by using photographic film. Digital cameras use a
         variety of fixed and removable storage media to store their recorded images.
         Images can usually be retrieved by connecting the camera to a computer or by
         connecting the removable storage medium to a separate reader. Removable
         storage media includes various types of flash memory cards or miniature hard
         drives. Most digital cameras also include a screen for viewing the stored
         images. This storage media can contain any digital data, including data
         umelated to photographs or videos.

    c.   Portable media player: A portable media player (or "MP3 Player" or iPod) is
         a handheld digital storage device designed primarily to store and play audio,
         video, or photographic files. However, a portable media player can also store
         other digital data. Some portable media players can use removable storage
         media. Removable storage media includes various types of flash memory
         cards or miniature hard drives. This removable storage media can also store
         any digital data. Depending on the model, a portable media player may have
         the ability to store very large amounts of electronic data and may offer
         additional features such as a calendar, contact list, clock, or games.

    d.    GPS: A GPS navigation device uses the Global Positioning System to
          display its current location. It often contains records of the locations where it
          has been. Some GPS navigation devices can give a user driving or walking
          directions to another location. These devices can contain records of the
          addresses or locations involved in such navigation. The Global Positioning
          System consists of24 NA VSTAR satellites orbiting the Earth. Each satellite
          contains an extremely accurate clock. Each satellite repeatedly transmits by
          radio a mathematical representation of the current time, combined with a
          special sequence of numbers. These signals are sent by radio, using

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                       specifications that are publicly available. A GPS antenna on Earth can
                       receive those signals. When a GPS antenna receives signals from at least
                       four satellites, a computer connected to that antenna can mathematically
                       calculate the antenna's latitude, longitude, and sometimes altitude with a high
                       level of precision.

               e.      PDA: A personal digital assistant, or PDA, is a handheld electronic device
                       used for storing data (such as names, addresses, appointments, or notes) and
                       utilizing computer programs.       Some PDAs also function as wireless
                       communication devices and are used to access the Internet and send and
                       receive e-mail. PDAs usually include a memory card or other removable
                       storage media for storing data and a keyboard and/or touch screen for
                       entering data. Removable storage media includes various types of flash
                       memory cards or miniature hard drives. This removable storage media can
                       store any digital data. Most PDAs run computer software, giving them many
                       ofthe same capabilities as personal computers. For example, PDA users can
                       work with word-processing documents, spreadsheets, and presentations.
                       PDAs may also include GPS technology for determining the location ofthe
                       device.

               f.      IP Address: An Internet Protocol address (or simply "IP address") is a unique
                       numeric address used by computers on the Internet. An IP address is a series
                       of four numbers, each in the range 0-255, separated by periods (e.g.,
                       121.56.97.178). Every computer attached to the Internet must be assigned an
                       IP address so that Internet traffic sent from and directed to that computer may
                       be directed properly from its source to its destination. Most Internet service
                       providers control a range ofIP addresses. Some computers have static-that
                       is, long-term-IP addresses, while other computers have dynamic-that is,
                       frequently changed-IP addresses.

               g.      Internet: The Internet is a global network of computers and other electronic
                       devices that communicate with each other. Due to the structure uf the
                       Internet, connections between devices on the Internet often cross state and
                       international borders, even when the devices communicating with each other
                       are in the same state.


Based on your Affiant's training, experience, and research, he knows that the TARGET DEVICES

have capabilities that allow them to serve as a wireless telephone, digital camera, portablc media

player, GPS navigation device, and PDA, with the capability to access the Internet. In your Affiant's




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training and experience, examining data stored on a device of this type can uncover, among other

things, evidence that reveals or suggests who possessed or used the devices.


                            Electronic Storage and Forensic Analysis


       25.     Based on your Affiant's knowledge, training, and experience, he knows that

electronic devices can store information for long periods of time. Similarly, things that have been
                                                ,
viewed via the Internet are typically stored for some period of time on such devices.            This

information can sometimes be recovered with forensics tools.

       26.       Forensic evidence. As further described in Attaclunent B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence of

the crimes described on the warrant, but also forensic evidence that establishes how the TARGET

DEVICES were used, the purpose oftheir use, who used them, and when were they used. There is

probable cause to believe that such forensic electronic evidence might be on the TARGET

DEVICES because:


               a.      Data on the storage medium can provide evidence of a file that was once on
                       the storage medium but has since been deleted or edited, or of a deleted
                       portion of a file (such as a paragraph that has been deleted from a word
                       processing file).

               b.      Forensic evidence on a device can also indicate who has used or controlled
                       the device. This "user attribution" evidence is analogous to the search for
                       "indicia of occupancy" while executing a search warrant at a residence.

               c.      A person with appropriate familiarity with how an electronic device works
                       may, after examining this forensic evidence in its proper context, be able to
                       draw conclusions about how electronic devices were used, the purpose of
                       their use, who used them, and when were they used.

               d.      The process of identifYing the exact electronically stored information on a
                       storage medium that is necessary to draw an accurate conclusion is a dynamic
                       process. Electronic evidence is not always data that can be merely reviewed


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                       by a review team and passed along to investigators. Whether data stored on a
                       computer is evidence may depend on other information stored on the
                       computer and the application of knowledge about how a computer behaves.
                       Therefore, contextual information necessary to understand other evidence
                       also falls within the scope of the warrant.

               e.      Further, in finding evidence of how a device was used, the purpose of its use,
                       who used it, and when it was used, sometimes it is necessary to establish that
                       a particular thing is not present on a storage medium.


       27.     Nature of examination. Based on the foregoing, and consistent with Federal Rule of

Criminal Procedure 41 (e)(2)(B), the warrant for which the Affiant is applying would permit the

examination of the TARGET DEVICES consistent with the warrant. The examination may require

authorities to employ techniques, including, but not limited to, computer-assisted scans of the entire

medium that might expose many parts of the devices to human inspection in order to determine

whether it is evidence described by the warrant.

       28.    Manner of execution. Because this warrant seeks only permission to examine devices

already in law enforcement's possession, the execution ofthis warrant does not involve the physical

intrusion onto a premise. Consequently, your Affiant submits that there is reasonable cause for the

Court to authorize execution ofthe warrant at any time in the day or night.


                                            Conclusion

       29.     Based on the information provided in this Affidavit, your Affiant respectfully submits

that probable cause exists to believe (I) the TARGET SUBJECTS have used the TARGET

DEVICES in furtherance of drug trafficking activities, in violation of21 U.S.c.     SS 841 (a)(I)   and

846; and (2) a search of the TARGET DEVICES, in accord with Attachment B, will uncover

evidence and fruits of possession with the intent to distribute a controlled substance and conspiracy




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to distribute and possess with the intent to distribute a controlled substance, in violation of21 U.S.C.

99   841(a)(I) and 846.




                                                        James N rton
                                                        Task Force Officer
                                                        Drug Enforcement Administration

Sworn and subscribed before me this       -i-lJ!; of April, 2019.
                                                           /k.......-z..
                                                        H~norable Beth P. Gesner     ••••••
                                                        United States Magistrate Judge




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                             Attachment   A: TARGET DEVICES

The property to be searched is described as follows:

               ITEM               DESCRIPTION                   SEIZURE
                                                               LOCATION
      TARGET DEVICE 1 Apple iPhone, !MEl:              Watson Patrick Bruce alk/a
                       359410080148081                 Tree ("BRUCE")'s person
                                                       in right front pants pocket



      TARGET DEVICE 2 Apple iPhone, Model:             BRUCE's person in right
                      A1688, FCC ID: BCG-                front pants pocket
                       E2946A, IC: 579C-
                             E2946A




      TARGET DEVICE 3              ZTE Cellular         Inside a white plastic bag
                                Telephone, Model:        in the back hatch area of
                               Z833, FCC ID: SRQ-      the 2019 black Volvo SUV
                                                        bearing Maryland license
                                   Z833,IMEl:
                                                         plate number 6DG292 I
                                862147035081211,        registered to PV Holding
                                  Serial Number:          Corporation located at
                                  320473799083            7432 New Ridge Road,
                                                        Hanover, Maryland 21076
                                                          ("BRUCE's Vehicle")
      TARGET DEVICE 4             Alcatel Cellular      Inside a white plastic bag
                                Telephone, FCC ID:       in the back hatch area of
                                2ACCJNOll,IME1:             BRUCE's Vehicle
                                 014892002238578

      TARGET DEVICE 5 Apple iPhone, Model:             Top left dresser drawer in
                      A1586, FCC ID: BCG-              the master bedroom of20
                       E2816A, IC: 579C-               Amberstone Court Unit J,
                                                         Annapolis, Maryland
                         E2816A,IMEI:
                                                          21403 (" TARGET
                        355397077596311                    LOCATION 1")

      TARGET DEVICE 6 LG Cellular Telephone, Top left dresser drawer in
                      Model: LS751, FCC lD: the master bedroom of
                         ZNFLS751, MElD      TARGET LOCATION 1
                               DEC:
                       089778995802556164,
                           MElD HEX:
                      35833006270104, Serial
                             Number:
                        508CYWC0315881
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TARGET DEVICE          LG Cellular       Top left dresser drawer in
      7           Telephone, Black and    the master bedroom of
                    dark grey ZTE flip   TARGET LOCATION
                          phone.                      1
                   S~:329F74371387
TARGET DEVICE      Apple iPad, Model:    Top of a TV stand in the
      8              A1397, FCC ID:        comer of the master
                   BCGA1397, MElD:       bedroom of TARGET
                   AlO000217 A2830,          LOCATION 1
                          Serial:
                   DLXH53HVDJHG
TARGET DEVICE      Apple iPad, Model:     Kitchen counter above
      9              A1489, FCC ID:        the kitchen sink of
                     BCGA1489,IC:        TARGET LOCATION
                  579C-A1489, Serial:                1
                    DMPPW7XFCM5
TARGET DEVICE       Apple iPad, Serial      Window sill inside
      10          F9FOK41LFCMS,IC        bedroom one of 18 Bens
                       579C-A1489        Drive Apt. F, Annapolis,
                                          Maryland ("TARGET
                                             LOCATION 3"):,
TARGET DEVICE      Apple iPhone, IMEI       Window sill inside
      11          356147093291945,IC          bedroom one of
                     579C-E2816A         TARGET LOCATION
                                                      3
TARGET DEVICE     Apple iPhone, Serial    An ironing board inside
      12           C8PWV8JVJC6F,              bedroom one of
                    IMEI 35300109        TARGET LOCATION
                         827723                       3
TARGET DEVICE      Apple iPhone with       Center console of the
      13          black face and white     2019 silver Chevrolet
                          back                Equinox bearing
                                          Maryland license plate
                                             number 5DR6266
                                            registered to Hertz
                                         Vehicles BWI, P.O. Box
                                              8612, Baltimore,
                                              Maryland 21240
                                         ("BRANCH's Vehicle")
TARGET DEVICE      Motorola Cellular         Center console of
      14           Telephone, Model:       BRANCH's Vehicle
                       XT-1922-6
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    TARGET DEVICE        Samsung Cellular    a night stand to the left of
          15             Telephone, IMEI:     the bed in bedroom one
                       3525567/07/287607/3      1307 N. Woodington
                                              Road Apt. 4, Baltimore,
                                                  Maryland 21229
                                                     ("TARGET
                                                  LOCATION 2")
    TARGET DEVICE          ZTE Cellular       top of the dresser at the
          16             Telephone, Serial        foot of the bed in
                             Number:               bedroom one of
                          322152866831       TARGET LOCATION
                                                           2
    TARGET DEVICE         ANS Cellular        inside ofthe top dresser
          17           Telephone, FCC ID:     drawer of bedroom two
                          2ALZMUL40                 of TARGET
                                                   LOCATION 2
    TARGET DEVICE        Samsung Cellular     top of the dresser inside
          18             Telephone, IMEI:          bedroom two of
                       351808/09/071/491/7   TARGET LOCATION
                                                           2
    TARGET DEVICE         LG Cellular         top of the dresser inside
          19               Telephone,              bedroom two of
                         PN4438540691        TARGET LOCATION
                                                           2
    TARGET DEVICE         ZTE Cellular        top of the dresser inside
          20            Telephone, IMEI:           bedroom two of
                        863461036473976      TARGET LOCATION
                                                           2
    TARGET DEVICE        Aleatel Cellular     top of the dresser inside
          21            Telephone,IMEI:            bedroom two of
                        01494000294996       TARGET LOCATION
                                                           2
    TARGET DEVICE         HTC Cellular        top of the dresser inside
          22            Telephone, IMEI:           bedroom two of
                        355972053271509      TARGET LOCATION
                                                           2


     TARGET DEVICE     1, TARGET DEVICE 2, TARGET DEVICE 3, TARGET

DEVICE 4, TARGET DEVICE 5, TARGET DEVICE 6, TARGET DEVICE 7, TARGET

DEVICE 8, TARGET DEVICE 9, TARGET DEVICE 10, TARGET DEVICE 11, TARGET

DEVICE   12, TARGET DEVICE    13, TARGET DEVICE         14, TARGET DEVICE   15,
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                           Attachment B: Items to be Seized From the TARGET DEVICES

                   I.       This warrant authorizes the search and seizure of all records contained within the

           cellular telephone described in Attachment A which constitute evidence of violations of21 U.S.C.

            SS 841 and   846 by Watson Patrick Bruce a/k/a "Tree", Todd Rayshard Thomas a/k/a "Little Man,"

           Lawrence Michael Branch, III, Larry Michael Brown, and their known and unknown co-

           conspirators, including, but not limited to, the following:

                            a. images;

                            b. videos;

                            c. records of incoming and outgoing voice communications;

                            d. records of incoming and outgoing text messages;

                            e. the content of incoming and outgoing text messages;

                            f.   voicemails;

                            g. e-mails;

                            h. voice recordings;

                            I.   contact lists;

                        j. data from third-party applications (including social media applications like
           Facebook and Instagram and messaging programs like WhatsApp and Snap chat);

                            k. location data;

                           1. bank records, checks, credit card bills, account information, and other
           financial records; and

                          n. evidence of who used, owned, or controlled the devices at the time the things
           described in this warrant were created, edited, or dcleted, such as logs, registry entries,
           configuration files, saved usernames and passwords, documents, browsing history, user profiles,
           email, email contacts, "chat," instant messaging logs, photographs, and correspondence;

                          o. evidence of software that would allow others to control the TARGET
           DEVICES, such as viruses, Trojan horses, and other forms of malicious software, as well as
           evidence of the presence or absence of security software designed to detect malicious software;
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               p. evidence of the lack of such malicious software;

                q. evidence of the attachment to the TARGET DEVICES of other storage devices
or similar containers for electronic evidence;

               r. evidence of counter forensic programs (and associated data) that are designed
to eliminate data from the TARGET DEVICES;

                s. evidence of the times the TARGET DEVICES were used;

              t. passwords, encryption keys, and other access devices that may be necessary to
access the TARGET DEVICES;

            u. documentation and manuals that may be necessary to access the TARGET
DEVICES or to conduct a forensic examination of the TARGET DEVICES;

               v. contextual information necessary to understand the evidence described in this
attachment.

         2.     The search procedure of the electronic data for the items described in Paragraph I
may include the following techniques (the following is a non-exhaustive list, and the government
may use other procedures that, like those listed below, minimize the review of information not
within the list of items to be seized as set forth herein, while permitting the government
examination of all the data necessary to determine whether the data falls within the items to be
seized):

               a.      surveying various file "directories" and the individual files they contain
(analogous to looking at the outside of a file cabinet for markings it contains and opening a drawer
believed to contain pertinent files);

               b.      "opening" or cursorily reading the first few "pages" of such files in order to
determine their precise contents;

                c.      "scanning" storage areas to discover and possible recover recently deleted
files;

               d.       "scanning" storage areas for deliberately hidden files; or

                e.       performing key word or other search and retrieval searches through all
electronic storage areas to determine whether occurrences of language contained in such storage
areas exist that are related to the subject matter of the investigation.

         3.     If after performing these procedures, the directories, files, or storage areas do not

reveal evidence of drug trafficking or conspiracy in violation 21 U.S.C.   SS 841 and   846, the further

search ofthat particular directory, file, or storage area shall cease.
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TARGET DEVICE 16, TARGET DEVICE 17, TARGET DEVICE 18, TARGET DEVICE

19, TARGET DEVICE 20, TARGET               DEVICE 21, TARGET DEVICE     22, and TARGET

DEVICE 23 (collectively referred to as the "TARGET DEVICES") are in the United States Drug
                                       In
Enforcement Administration's possession.
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